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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 NO. 4:06CR00407-03 JLH

JEREMY TREMAYNE MCEWEN                                                             DEFENDANT

                                            ORDER

       Defendant was arrested on August 8, 2011, and subsequently appeared before United States

Magistrate Judge Joe J. Volpe on August 9, 2011, for an initial appearance. Prior to his appearance

before the magistrate, defendant tested positive for narcotics and admitted to recent use. Judge

Volpe directed defendant be detained until his drug tests were negative. The Court has now been

informed by the United States Probation Officer that McEwen’s drug test is negative.

       IT IS THEREFORE ORDERED that the hearing on the government’s Motion to Revoke

Supervised Release is hereby scheduled to begin on THURSDAY, SEPTEMBER 8, 2011, at 10:00

a.m., in Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West Capitol

Avenue, Little Rock, Arkansas to show cause why the supervised release previously imposed should

not be revoked. Document #71.

       IT IS SO ORDERED this 31st day of August, 2011.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
